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EXHIBIT
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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

SHALOM S. MAIDENBAUM,

Plaintiff, PROPOSED AMENDED
COMPLAINT
~against-
Case No. 18-cv-02911
AARON FISCHMAN, NINA FISCHMAN (NGG)(RER)
LAWRENCE KATZ, THE LAW OFFICE OF
LAWRENCE KATZ, P.C., THE LAW OFFICE
OF LAWRENCE KATZ, ESQ., PLLC and CHOSHEN
ISRAEL, LLC,

Defendants.

Plaintiff Shalom S. Maidenbaum (“Mr. Maidenbaum”), by his attorneys Zisholtz &

Zisholtz, LLP, as and for his Amended Complaint against Defendants herein, alleges the

following:
INTRODUCTION
1. This civil action is brought pursuant to the Racketeer Influenced and Corrupt

Organizations Act (“RICO”), 18 U.S.C. §§ 1961, e@. seg.

2. This action seeks compensatory and treble damages from Defendants for multiple
incidents of wire fraud. Defendant Aaron Fischman was involved in a raise of capital for a
business entity known as Cardis. Cardis itself was broken into several entities, Cardis
Enterprises International, N.V., Cardis Enterprises International, B.V., and Cardis Enterprises
International (U.S.A.), Inc. (collectively, “Cardis”),

3. This action is does not seek any relief predicated upon securities fraud. Rather,

this action is grounded in a scheme developed by the Defendants over the course of years, which
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involved many multiple instances wherein monies earmarked for Cardis, and ultimately another
entity, were siphoned off by the Defendants to fund their lavish lifestyle.
JURISDICTION AND VENUE

4, This Court has subject matter jurisdiction over this action pursuant to 18 U.S.C. §
1964.

5. Venue is proper in this judicial district pursuant to 18 U.S.C. 3 1965 and 28
LL.S.C. § 1391 because Defendants are subject to personal jurisdiction in this judicial district and
reside in this district.

PARTIES

6. At all times hereinafter mentioned and relevant hereto, Plaintiff Shalom S.
Maidenbaum was a natural person residing at 50 Bayberry Road, Lawrence, New York 11559,
located in the County of Nassau, State of New York.

7. At all times hereinafter mentioned and relevant hereto, Defendant Aaron
Fischman was a natural person residing at 703 Carlyle Street, Woodmere, New York 11598,
located in the County of Nassau, State of New York.

&. At all times hereinafter mentioned and relevant hereto, Defendant Nina Fischman
was a natural person residing at 703 Carlyle Street, Woodmere, New York 11598, located in the
County of Nassau, State of New York.

9. At all times hereinafter mentioned and relevant hereto, Defendant Lawrence Katz
was a natural person residing at 380 Arbuckle Avenue, Cedarhurst, New York 11516, located in
the County of Nassau, State of New York.

10. At all times hereinafter mentioned and relevant hereto, Defendant Lawrence Katz

was a member of the New York bar, having been admitted by the Appellate Division, Second
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Judicial Department in 1986.

LL, Defendant The Law Office of Lawrence Katz, P.C. (“PC”), was a domestic
professional corporation duly organized and existing by virtue of the laws of the State of New
York, County of Nassau, which was dissolved by proclamation on January 25, 2012.

12. Defendant The Law Office of Lawrence Katz, Esq., PLLC (“PLLC”), is a
domestic professional limited liability company duly formed on February 29, 2012, and duly
organized and existing under the laws of the State of New York, County of Nassau.

13. Upon information and belief, at all times heremafter mentioned and relevant
hereto, PLLC was in function, if not legally, the successor entity of PC.

14. At all times hereinafter mentioned and relevant hereto, Defendant Choshen Israel
Group, LLC was a domestic limited lability company with offices formerly located at 445
Central Avenue, Cedarhurst, New York 11516, located in the County of Nassau, State of New
York,

15. Upon information and belief, at all times hereinafter mentioned and relevant
hereto, Defendant Aaron Fischman wholly owned and controlled Defendant Choshen, operating
the same as an alter ego of himself.

FACTUAL ALLEGATIONS COMMON TO ALL COUNTS

16. Cardis was purportedly in the business of developing and marketing aggregation
technologies for low value payments with credit cards and debit cards.

17, Over the course of several years, Aaron Fischman raised in excess of $70 Million
in investments into Cardis, but unfortunately, much of the funds were never given to Cardis, but

were diverted by Aaron Fischman, with the assistance of his lawyer, Lawrence Katz and his

wife, Nina Fischman.
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18. Defendant Aaron Fischman set up another entity known as Choshen israel Group,
LLC (“Choshen”), which he alone controlled. Choshen was set up as a vehicle for Aaron
Fischman to hide assets and income. It served no other functionality.

19. Over the course of several years, beginning at least as far back as 2006, and
continuing into 2016, Aaron Fischman solicited investments into the Cardis entities totaling over
$70 Million.

20. Aaron Fischman explained to investors that because Cardis was a foreign
corporation they did not have a bank account in the United States and the monies had to be
deposited into his lawyer’s escrow account. That lawyer was the Defendant Lawrence Katz
(“Katz”),

21. While all of the funds were earmarked by investors for Cardis, Katz disbursed
them as Aaron Fischman directed. The lion’s share of the monies ratsed did not in fact go to
Cardis. Rather, they were sent to Aaron Fischman, Choshen, Nina Fischman, the Fischmans’
children, or to pay for the Fischmans’ lavish lifestyle, which included a vacation home in
Sullivan County, New York, and an apartment worth several million dollars in Jerusalem, Israel.

22, In addition to the Cardis entities, Aaron Fischman also raised money for an entity
known as Epoint Payment Corp. (“Epoint”). Epoint was also a technology driven company that
Aaron Fischman claimed to have come up with, together with an individual named David
Crocket, a Vice President at the FIS Global Business Solutions, a company with a net worth in
the several billions of dollars.

23. Plaintiff, Shalom S. Maidenbaum was one of the investors duped by the scheme

concocted by Aaron Fischman, Katz and Nina Fischman.
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24, In each instance Mr. Maidenbaum tendered checks to Katz for investment in
Epotnt. Yet, Mr. Maidenbaum was shocked to find out that notwithstanding his direction to Katz
that the deposits were for the purchase of an equity interest in Epoint, Katz disbursed a
considerable sum of the funds directly to Aaron Fischman, Nina Fischman, or Choshen,

25. Over the course of the many years the scheme between the Defendants was going
on, Aaron Fischman and Katz funneled milhons of dollars into the bank accounts of Nina
Fischman, who was not during any of the period, gainfully employed outside the home, and
never held any position with Cardis.

26, Mr. Maidenbaum’s payments to Katz for investments, variously in Cardis and
Epoint, commenced in the fall of 2006 and continued through September 10, 2015. Mr.
Maidenbaum did not learn that his funds did not all find their way to his Epoint investment until
May, 2016.

27. The scheme and enterprise operated by Defendants was for the express purpose of
enriching themselves at the expense of investors, without actually sending all of the monies
where they were earmarked, and for the added purpose of defrauding the taxing authorities —
both Federal and State.

28. Between in or about 2006 and September 2015 Mr. Maidenbaum tendered dozens
of checks to Katz for investment in either Cardis or Epoint, in excess of $2,000,000.00. Many of
the checks, or portions of many, were diverted by Aaron Fischman and Katz to Nina Fischman,
Choshen or places unknown, other than the intended targets of investment. Upon information
and belief only $625,000.00 of the $1,550,000.00 earmarked for Epoint was actually deposited
into Epoint’s account. None of the $850,000.00 earmarked for Cardis was deposited into

Cardis’s account.
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29, All of the payments by Plaintiff were solicited by Aaron Fischman through use of
the wires and with a promise that the funds were going to be used by Cardis or Epoint for
legitimate business purposes. Such promises were knowingly fraudulent.

30. Each of the multiple instances of the diversion of moneys invested by Mr.
Maidenbaum in either Cardis or Epoint, that were diverted by Aaron Fischman, Katz and Nina
Fischman constitutes an instance of wire fraud under 18 U.S.C. § 1343.

31. Each of the acts to divert funds was done willfully and with knowledge that they
were wrongtul and illegai.

32. Mr. Maidenbaum was damaged as a result of the illegal and improper activity of
Defendants Aaron Fischman, Katz and Nina Fischman.

33. The aforementioned improper and illegal acts of wire fraud were part of a pattern
that continued for many years, and involved multiple investors of procured by Aaron Fischman,
who deposited funds with Katz for either Cardis or Epoint.

34. This pattern of activity lasted over the course of many years, and involved both
Plaintiff Mr. Maidenbaum and multiple other investors, duped by Aaron Fischman and Katz to
invest in either Cardis or other purported investment vehicles promoted by Aaron Fischman.

35. Plaintiff Mr. Maidenbaum is a person within the meaning of 18 U.S.C. § 1964(c)
and has a right to maintain this private RICO action.

36. The Defendants’ activities in violation of the RICO statute had an impact upon

interstate commerce.

AS AND FOR A FIRST CLAIM FOR RELIEF
(Violation of 18 U.S.C. § 1962(c)

37. Plaintiff repeats, reiterates and realleges each and every allegation set forth in
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paragraphs | through 36 of this Complaint as though fully set forth herein.

38. Defendants PC, PLLC, Choshen and the individual Defendants are an Enterprise
within the meaning of 18 U.S.C. § 1961(4) whose activities affect interstate commerce. The
individual Defendants are either employed by, are managers or members of, or exercise control
over the financial affairs of Defendant Choshen.

39. The Defendants operated through a pattern of racketeering activity and were
associated together and functioned together for a common unlawful purpose as set forth below
and all participated in the management of the racketeering enterprise.

40, Each individual Defendant is a “person” within the meaning of 18 U.S.C. §
1961(3) and directed and participated in the affairs of the various enterprises within the meaning
of 18 U.S.C § 1962(c).

4. Defendant Aaron Fischman directly and indirectly conducted and participated in
conducting the affairs of these Enterprises through a pattern of racketeering activity, and im
violation of 18 U.S.C. § 1962¢(c).

42. Defendants conspired together to engage in a pattern of racketeering activity on or
about September 1, 2006 and thereafter with the intention to defraud Plaintiff by devising a
scheme and artifice to procure purported investments in Cardis and Epoint from Plaintiff. This
money was then illegally converted by Defendants for their own personal uses and was never
invested in either Cardis or Epoint. The scheme was carried out by the Defendants through
multiple actions and acts from on or about September, 2006 to the present.

43, The scheme was continued by a series of false representations by Defendants
thereby defrauding Plaintiff out of $1,775,000.00. The alleged false representations were

knowingly false when made.
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44. —- This pattern of racketeering activity was carried out by repeated solicitations of
Plamuff by Defendant Aaron Fischman for purported investments in Cardis and Epoint while
Defendants converted said purported investments for their own personal uses.

45. ‘The fraudulent representations constitute wire fraud in violation of 18 U.S.C. §
1343 and other applicable laws and constituted a conspiracy to commit the offenses and mail
fraud and wire fraud.

46. Through the commission of illegal predicate acts, Defendants engaged in a pattern
of racketeering activity between September, 2006 and the present, affecting interstate commerce
as defined by 18 U.S.C. § 1961(5) and other applicable laws, including but not limited to:

(a) Fraudulently inducing Plamtiff to invest in Cardis and Epoint by means of
fraudulent representations made in this District in writing, on the telephone, and by in-person
meetings and conversations; to wit, representations that the money from Plaintiff will be placed
in the accounts of Cardis or Epoint to further the business operations of those companies.

(b} Fraudulently accepting a series of checks written by Plaintiff that were
intended to be invested in Cardis in the amount of $850,000.00, that were diverted to personal
accounts of Defendants;

(c) By fraudulently accepting a series of checks written by Plaintiff that were
intended to be invested in Epoint in the amount of $1,550,000.00, of which only $625,000.00
was actually invested in Epoint, and of which $925,000.00 was diverted to personal accounts of
Defendants,

47. In furtherance of the above described scheme to defraud Plaintiff, Defendant
unlawfully, willfully, and knowingly transported, and caused to be transported assets with the

value of $560,000.00 or more, in interstate commerce, knowing the same to have been taken by
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fraud.

48. The numerous and fraudulent acts of Defendants constitute a pattern of
racketeering activity affecting interstate commerce within the meaning of 18 U.S.C. § 1961(S5) in
that said illegal acts have a relationship to each other by reason of having similar objects,
methods of commission, common victims, and similar means of transmission. By reason of the
aforementioned racketeering Enterprise activities, all conditions precedent to Plaintiffs right to
recover judgment have been satisfied.

49, Plaintiff has been injured in its business and property by reason of Defendants’
violation of 18 U.S.C. § 1962 and this entitles Plaintiff to threefold damages, costs of sun, and

reasonable attorneys’ fees.

AS AND FOR A SECOND CLAIM FOR RELIEF
(Violation of 18 U.S.C. § 1962(b)

50. Plaintiff repeats, reiterates and realleges each and every allegation set forth in
paragraphs | through 49 of this Complaint as though fully set forth herein.

Sk, Defendants’ activities as aforesaid, affect both interstate and foreign commerce.

52. Defendants acquired and maintained interest in and control of the enterprise
through a pattern of racketeering activity.

53. The racketeering activity set forth hereinabove constitutes a pattern of
racketeering activity pursuant to 18 U.S.C. § 1961(5).

34. Defendants have directly and indirectly acquired and maintained interests in and

control of the enterprise through the pattern of racketeering activity described above, in violation

of 18 U.S.C. § 1962(b).
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55. As a direct and proximate result of Defendants’ racketeering activities and
violations of 18 U.S.C. § 1962(b), Plaintiff has been mjured in his business and property,
compelling him, inter alia, to accumulate debt in order to make up for shortfalls in funds caused
by Defendants’ actions.

56. Plaintiff has been injured in its business and property by reason of Defendants’
violation of 18 U.S.C. § 1962 and this entitles Plaintiff to threefold damages, costs of suit, and

reasonable attorneys’ fees.

AS AND FOR A THIRD CLAIM FOR RELIEF
(Violation of 18 ULS.C, § 1962(d)

S57. Plaintiff repeats, reiterates and realleges each and every allegation set forth in
paragraphs 1 through 56 of this Complaint as though fully set forth herein.

58. As set forth above, Defendants agreed and conspired to violate 18 U.S.C. §§
1962{a), (b) and (c).

59. | Defendants have intentionally conspired and agreed to directly and indirectly use
or invest income that is derived from a pattern of racketeering activity in interstate and foreign
commerce, acquire and maintain interests in the enterprise through a pattern of racketeering
activity, and conduct and participate in the conduct of the affairs of the enterprise through a
pattern of racketeering activity.

60. Defendants knew that the abovementioned predicate acts were part of a pattern of
racketeering activity and agreed to the commission of those acts to further the schemes described
above, such conduct constituting a conspiracy to violate 18 U.S.C. §§ 1962(a), (b) and (c), in

violation of 18 U.S.C. § 1962(d).

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61.  Plamtif has been injured in his business and property as a direct and proximate
result of Defendants’ conspiracy and overt acts taken in furtherance of that conspiracy, in
violation of 18 U.S.C. § 1962(d).

62. Plaintiff has been injured in its busmess and property by reason of Defendants’
violation of 18 U.S.C. § 1962 and this entitles Plaintiff to threefold damages, costs of suit, and

reasonable attorneys’ fees.
AS AND FOR A FOURTH CLAIM FOR RELIEF
AGAINST DEFENDANTS KATZ, PC AND PLLC
(Ancillary Claim — Legal Malpractice)

63. Plaintiff repeats, reiterates and realleges each and every allegation set forth in
paragraphs | through 62 of this Complamt as though fully set forth herein.

64. This Court has ancillary or supplementary jurisdiction over the claims against
Defendants Katz, PC and PLLC (collectively the “Katz Defendants”) under 28 U.S.C. § 1367.

65. Heretofore and prior to the time complained of herein, Defendant Aaron
Fischman, as a client of the Katz Defendants, retained the Katz Defendants to represent him and
his various business entities for personal and investment purposes.

66. Aaron Fischman solicited investors to invest in his business ventures and to
deposit the money in the attorney escrow account of the Katz Defendants.

67. The Katz Defendants, in furtherance of their representation of Aaron Fischman,
arranged for the investors to deposit funds into their attorney escrow account for investment
purposes.

68. From on or about September, 2006 to on or about September 10, 2015 Plaintiff

deposited sums of money in excess of $2,000,000.00 into the aforesaid attorney escrow accounts

for the sole purpose of investing into various business ventures of Aaron Fischman.

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69. The Katz Defendants, jointly and severally, negligently, recklessly and
fraudulently, permitted Aaron Fischman to use the Katz Defendants’ attorney escrow account in
furtherance of his personal goals and financial interests.

70. The actions of the Katz Defendants, jomtly and severally, in utilizing their
attorney escrow account to permit Aaron Fischman to obtain his personal goals and financial
interests, resulted in the Plaintilf being deceived and victimized by the Katz Defendants as well
as Defendants Aaron Fischman and Choshen.

7k. The actions of the Katz Defendants, jointly and severally, resulted in a total
disregard of their fiduciary and other legal duties and obligations to the Plaintiff.

72. The Katz Defendants, jointly and severally, permitted Aaron Fischman to use
their attorney escrow account with little or no supervision by the defendants and provided the
vehicle by which Aaron Fischman could misappropriate the Plaintiffs finds while at the same
time giving a veneer of legitimacy to the various investments and responsibilities to the Plaintiff.

73. The Katz Defendants, jointly and severally, knew that by utilizing their attorney
escrow account by Aaron Fischman, it would mislead the Plaintiff into believing that the
investments and financial interests of the plaintiff were legitimate secure and protected.

74, The Katz Defendants, jointly and severally, failed to exercise reasonable diligence
in disbursing funds from their attorney escrow account without proper documentation and other
information concerning any of the transactions for which the funds were being provided.

75, Once the funds were placed into the Katz Defendants’ attorney escrow accounts,
the Katz Defendants, jointly and severally, owed a duty to the Plaintiff to manage the escrow
account and handle Plaintiffs funds with the care, skill and diligence ordinarily possessed and

exercised by an ordinary attorney in similar circumstances.

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76. The Katz Defendants, jointly and severally, were negligent and reckless in that
they failed to exercise any diligence in ascertaining the facts concerning Aaron Fischman’s use
of their attorney escrow account to facilitate the alleged investments; that they were negligent
and reckless in accepting funds into their escrow account without any documentation or
information concerning the transactions for which the funds were being provided; ceding
effective control over their attorney escrow account to Aaron Fischman by allowing him to use
the account to receive money from the Plaintiff without any oversight by them, jointly and
severally; by transferring funds from the Plaintiff to Aaron Fischman, his wife or any affiliated
entities or individuals, without the knowledge of the Plaintiff or securing any documentation
from the Plaintiff regarding either the transfer or the purported investment transaction for which
the funds were transferred and deposited into the Katz Defendants’ attorney escrow account;
transferring Plaintiff's money without obtaining any authorization or approval from the Plainnff,
failing to provide Plaintiff with notice that they were transferring the funds out of their attorney
escrow account; failing to notify Plaintiff of the date the funds were released, the amount
released or the party to whom the funds were released.

TT. The Defendants, jointly and severally, owed a duty of care to Plaintiff by virtue of
their acceptance of plaintiff's funds into their attorney escrow account.

78. Plaintiff was an intended beneficiary of the Katz Defendants’ undertaking to hold
his funds in their attorney escrow account.

79. By virtue of their acceptance of Plaintiff's funds, the Defendants, jointly and
severally, owed a duty to manage the attorney escrow account and handle Plaintiff's funds with

the care, skill and diligence ordinarily possessed and exercised by an ordinary attorney in similar
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circumstances.

80. The Katz Defendants, jointly and severally, handled the attorney escrow account
and Plaintiffs funds in a grossly negligent manner in that they failed to exercise the ordinary
degree of care, skill and diligence commonly exercised by attorneys in connection with the
management and the handling of funds in an attorney escrow account.

81. The Katz Defendants, jointly and severally, negligently disregarded their duty to
Plaintiff in connection with the management of and the handling of funds in their attorney
escrow account with the reasonable care, skill and diligence of an attorney in a similar situation.

82. The Katz Defendants acts of negligence included the following conduct among
others:

{a) the Katz Defendants, jointly and severally, failed to exercise
reasonable diligence in ascertaining the facts concerning Aaron
Fischman’s use of the attorney escrow account to facilitate his various
alleged investments;

(b) the Katz Defendants, jointly and severally, negligently
accepted funds from the Plaintiff into their attorney escrow account
without any documentation or other information concerning the
transactions for which the funds were being provided;

(c) the Katz Defendants jointly and severally, negligently ceded

effective control over their attorney escrow account to Aaron Fischman by

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allowing him to use the account to receive money from Plaintiff without
Plaintiff's approval or consent;
{d) the Katz Defendants, jointly and severally, negligently
transferred Plaintiff's funds from the firm’s attorney escrow account to
Aaron Fischman, his wife or affiliated entities and others without securing
any documentation from the Plaintiff regarding the transfer or securing of
any documentation for which the funds were scheduled and deposited into
the attorney escrow account;
(e) the Katz Defendants, jointly and severally, negligently
transferred Plaintiff's funds out of their attorney escrow account without
any authorization or approval from the plaintiff,
(f) the Katz Defendants, jointly and severally, negligently failed
to provide Plaintiff with any notice that they were transferring the funds
out of the attorney escrow account;
(g) the Katz Defendants jointly and severally, negligently failed
to notify the Plamtiff of the date the funds were released, the amount
released or the party to whom the funds were released.
83. Had the Katz Defendants, jointly and severally, exercised their decree of care,
skill and diligence required to exercise in carrying out their professional duties, the Plaintiff

would not have sustained the losses he sustained and the funds would not have wrongfully been

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disbursed out of their attorney escrow account.

84, As a direct result of the Katz Defendants, negligence and legal malpractice,
Plainutf has been damaged in an amount to be determined by the trier of fact, but in a sum not
less than $1,775,000.00.

AS AND FOR A FIFTH CLAIM FOR RELIEF
AGAINST DEFENDANTS KATZ, PC AND PLLC
(Ancillary Claim — Breach of Fiduciary Duty)

85. Plaintiff repeats, reiterates and realleges each and every allegation set forth in
paragraphs | through 84 of this Complaint as though fully set forth herein.

86. The Katz Defendants, jointly and severally, owed a fiduciary duty to the Plaintiff
by virtue of their acceptance of Plaintiff's funds into their attorney escrow account.

87. The Katz Defendants, jointly and severally, owed a fiduciary duty to the Plaintiff
by virtue of their acceptance of Plaintiffs funds into their attorney escrow account.

88, The Katz Defendants, jointly and severally, owed a Fiduciary duty to the Plaintiff
to properly manage the firm’s attorney escrow account, and ensure the proper use of Plaintiff's
funds.

89. The Katz Defendants, jointly and severally, owed a fiduciary duty to the Plaintiff
to follow and adhere to the instructions provided by the Plaintiff when the funds were deposited
into their attorney escrow account.

90, The Katz Defendants, jointly and severally, completely abdicated their

responsibilities as a fiduciary by ceding control of their escrow account to Aaron Fischman to

use for his own personal benefit and interests, breaching their fiduciary duty to the Plaintiff.

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OL. Plaintiff reasonably relied on the Katz Defendants’ fiduciary duty to faithfully
discharge their duties with respect to the escrow account and Plaintiff's funds.

92. Had the Katz Defendants, jointly and severally, fulfilled their fiduciary
obligations to Plaintiff, Plaintiff would not have sustained the damages he sustained.

93. By reason of the foregoing, and the breaches of their fiduciary duties, Plaintiff has
been damaged in an amount to be determined at the time of trial, but in a sum no less than
$1,775,006.00.

PRAYER FOR RELIEF

 

WHEREFORE, Plaintiff Shalom S. Maidenbaum, respectfully demands judgment
against Defendants as follows:
(a) On the First Claim for Relief, for violation of 18 U.S.C, §
1962(c), in an amount not less than $1,775,000.00 to be determined by the
Court at the time of trial as a result of the Defendants’ aforesaid
racketeering activity and demands judgment therefor, together with treble
damages and attorneys’ fees;

(b) On the Second Claim for Relief, as a direct and proximate
result of Defendants’ racketeering activities and violations of 18 U.S.C. §
1962(b), in an amount not less than $1,775,000.00 to be determined by the
Court at the time of trial as a result of the Defendants’ aforesaid
racketeering activity and demands judgment therefor, together with treble

damages and attorneys’ fees;

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(c) On the Third Claim for Relief for violation of 18 U.S.C. §
1962(d), in an amount not less than $1,775,000.00 to be determined by the
Court at the time of trial as a result of the Defendants’ aforesaid
racketeering activity and demands judgment therefor, together with treble
damages and attorneys’ fees;

(d)} On the Fourth Claim for Relief, agamnst the Katz
defendants, for legal malpractice, in an amount of not tess than
$1,775,000,00;

(e) On the Fifth Claim for Relief, against the Katz Defendants,
for breach of fiduciary duty, in an amount of not less than $1,775,000.00;
and

(f) Such other and further relief as to the Court may seem just,
proper and equitable.

Dated: Garden City, New York
June 14, 2019

ZISHOLTZ & ZISHOLTZ, LLP

By:

 

Stuart S. Zisholtz

Attorneys for Plaintiff

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